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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
ULKA ROWE,                                                     :
                                             Plaintiff,        :    19 Civ. 8655 (LGS)
                                                               :
                           -against-                           :          ORDER
                                                               :
GOOGLE LLC,                                                    :
                                             Defendant.        :
------------------------------------------------------------- X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the parties filed pre-motion letters in anticipation of cross-motions for

summary judgment (Dkt. No. 112 and 113), and a pre-motion conference was held on May 27,

2021.

        WHEREAS, the parties participated in settlement discussions before Magistrate Judge Fox

but were unable to resolve the case. Dkt. No. 127. It is hereby

        ORDERED that, the parties’ cross-motions for summary judgment shall be briefed

according to the following schedule:

             •   by October 29, 2021, Defendant shall file its motion for summary judgment;

             •   by December 3, 2021, Plaintiff shall file her opposition to Defendant’s motion for

                 summary judgment and any cross-motion for summary judgment;

             •   by December 22, 2021, Defendant shall file its reply in support of its motion for

                 summary judgment and any opposition to Plaintiff’s motion for summary judgment;

                 and

             •   by January 12, 2022, Plaintiff shall file her reply in support of her cross-motion for

                 summary judgment.

Each party is limited to fifty (50) pages of briefing total. The parties shall otherwise comply with

the Court’s Individual Rules, and if in effect, the Emergency Individual Rules and Practices in light
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of COVID-19. It is further

       ORDERED that, by August 13, 2021, Plaintiff shall file any dismissal of her Title VII and

Equal Pay Act claims, with the understanding that the Court intends to exercise supplemental

jurisdiction over the remaining claims.

Dated: August 9, 2021
       New York, New York




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